Case 2:19-cv-10234-JTM-JVM Document1 Filed 05/08/19 Page 1 of 5

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DEBRA T. WHITEMAN * CIVIL ACTION NO.
versus * SECTION: “ ”
PLAZA INSURANCE COMPANY, * MAGISTRATE: “ ”
BALLARD’S PETROLEUM, INC.
AND HAROLD L. DENHAM *

COMPLAINT

The complaint of Debra T. Whiteman, alleges upon information and beliefas follows:
I.
Plaintiff, Debra T. Whiteman, is a citizen of the State of Florida.
I.
Defendants herein are:
(a) Plaza Insurance Company, a foreign insurance corporation located in a state
other than Florida and which is authorized to do and doing business in the

State of Louisiana;

(b) Ballard’s Petroleum, Inc., a limited liability company, having its principal
place of business within the State of Louisiana; and

(c) Harold L. Denham, a citizen of the State of Louisiana.

 
Case 2:19-cv-10234-JTM-JVM Document1 Filed 05/08/19 Page 2 of 5

Il.
The amount in controversy in this case exceeds $75,000, exclusive of interest and

costs.
IV.
This Honorable Court has jurisdiction by virtue of diversity of citizenship.
V.

At approximately 10:45 a.m. on June 13, 2018, plaintiffwas operating her 2011 Ford
Fusion in an easterly direction on Interstate 12 in the City of Hammond, Louisiana when she
came to a stop because of congested traffic ahead of her.

VI.

At the same time, the defendant, Harold L. Denham, was traveling behind plaintiff
ina 2001 Freightliner tractor trailer rig. When plaintiff stopped her vehicle in traffic, Harold
L. Denham slammed into the back of plaintiff's vehicle.

VIL.

At the time of the above-described crash, Harold L. Denham, was in the course and
scope of his employment with defendant, Ballard’s Petroleum, Inc., the owner of the tractor
trailer rig which Harold L. Denham was driving and, therefore, Ballard’s Petroleum, Inc. is

responsible for the negligent acts or omissions of Harold L. Denham.

ho
Case 2:19-cv-10234-JTM-JVM Document1 Filed 05/08/19 Page 3 of 5

VII.

The above-described crash did not result from any fault or neglect on the part of
plaintiff or any third party; rather, the accident occurred due to the sole fault or neglect of
Harold L. Denham, to-wit:

(a) Failing to maintain a proper look-out;

(b) Failure to yield right of way;

(c) Operating his vehicle at an excessive rate of speed given the existing traffic
conditions;

(d) Operating his vehicle in a careless, negligent or reckless fashion; and

(ec) All such other negligent acts or omissions as may come to light during the
discovery phase of this case.

IX.
As a result of the above-described crash, plaintiff has sustained injuries, which

damages are claimed from defendants as follows, to-wit:

(a) Past and future medical expenses $150,000.00

(b) Past and future lost wages or loss of earning capacity $150,000.00

(c) Past and future pain and suffering $250,000.00
(d) Past and future anguish, emotional distress, scarring,

disfigurement, disability and loss of enjoyment of life $250,000.00

Total: $800,000.00
Case 2:19-cv-10234-JTM-JVM Document1 Filed 05/08/19 Page 4 of 5

 

X.

At all material times, the defendants, Ballard’s Petroleum, Inc. and Harold L.
Denham, were insured through a policy of liability insurance issued to them by the
defendant, Plaza Insurance Company; by virtue of the policy which it issued, Plaza
Insurance Company, is liable in solido along with its insureds.

XI.

Plaintiff is entitled to and hereby demands trial by jury with regard to all issues.

WHEREFORE, plaintiff prays that the defendants be cited and served with a copy
of this Complaint compelling them to appear and answer same and after all due proceedings

that judgment be entered in plaintiff's favor and against defendants, in solido, for all relief

 

itemized above, all costs of these proceedings, interest from the date of judicial demand, and
any and all other relief which may be available under the circumstances.

Respectfully submitted:

/s/ Scott E. Silbert

SCOTT E. SILBERT, T.A. (#12068)
Silbert, Pitre & Friedman

909 Poydras Street, Suite 2130

New Orleans, Louisiana 70112
Telephone: (504) 581-6200
Facsimile: (504) 584-5270

Email: Scott@spflawyers.com
Counsel for plaintiff, Debra T. Whiteman

PLEASE SEE NEXT PAGE FOR SERVICE INSTRUCTIONS:
Case 2:19-cv-10234-JTM-JVM Document1 Filed 05/08/19 Page 5 of 5

PLEASE SERVE:

PLAZA INSURANCE COMPANY
through its agent for service of process:
Louisiana Secretary of State

8585 Archives Avenue

Baton Rouge, LA 70809

BALLARD’S PETROLEUM, L.L.C.
through its agent for service of process:
James Ballard, Sr.

12673 Steptoe Road

Roseland, LA 70456

HAROLD L. DENHAM
55315 Hwy. 51
Independence, LA 70443

 
